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                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                      Case No. 05-cr-215-PB

Christopher Stallings, et al.



                               O R D E R


     Defendant Stallings has moved to continue the November 7,

2006 trial in the above case citing the need for additional time

to review new discovery and pursue plea negotiations.            The

government and all co-defendants do not object to a continuance

of the trial date.

     For the above reason and to allow the parties additional

time to properly prepare for trial, the court will continue the

trial date from November 7, 2006 to February 6, 2007.            In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendants in a speedy

trial.
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      The court will hold a final pretrial conference on January

18, 2007 at 4:15 p.m.

      SO ORDERED.

                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

November 2, 2006

cc:   Bjorn Lange, Esq.
      Jonathan Saxe, Esq.
      William Christie, Esq.
      R.P. Cornelius, Esq.
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      Paul Pappas, Esq.
      Michael Smith, Esq.
      Donald Feith, AUSA
      United States Probation
      United States Marshal




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